          Case 3:19-cr-02982-DMS Document 57 Filed 10/22/20 PageID.139 Page 1 of 1
                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                       Case No. 19CR2982-DMS

                                      Plaintiff,
                         vs.

JASMINE ROSE HERNANEZ (2),
                                                                                FILED
                                    Defendant.                                    OCT 222020
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                                                                        SOUTHERN DISTRICT OF CALli'Ol'lNIA
                                                                        BY                         DEPUTY


IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
 •    granted the motion of the Government for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal, without prejudice; or

 •    the Court has granted the motion of the defendant for a judgment of acquittal; or

 •    a jury has been waived, and the Court has found the defendant not guilty; or

 •    the jury has returned its verdict, finding the defendant not guilty;

      of the offense(s) as charged in the Indictment/Information:
      21 USC 952 and 960, and 18 USC 2




 Dated:     10/22/2020
                                                   Hon. DanaMabraw
                                                   United States District Judge
